                                 Case 14-31229-sgj15        Doc 89 Filed 04/16/14 Entered 04/16/14 15:42:50         Desc
                                                            Court Admitted Exhibits Page 1 of 1
BTXN 208 (rev. 07/09)
IN RE: MtGox Co., Ltd.                              Emergency motion to continue deposition (doc. 76)       Case # 14−31229−sgj15
DEBTOR
                                                                 TYPE OF HEARING

MtGox Co., Ltd.                                                              VS                         Gregory D. Greene and Joseph Lack
PLAINTIFF / MOVANT                                                                                      DEFENDANT / RESPONDENT


D. Parham                                                                                               R. Phelan
ATTORNEY                                                                                                ATTORNEY


                                                                      EXHIBITS
Debtor Exhibit A: Japanese Court Orders with Translation

Debtor Exhibit B: Announcement of the Order for Provisional Administrator
dated April 16, 2014




D. Harden                                                                   4/16/2014                         Stacey G. Jernigan
                                                                            HEARING
REPORTED BY                                                                                                  JUDGE PRESIDING
                                                                            DATE
